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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                  __________  District
                                                        District       of __________
                                                                 of Columbia


        American Foreign Service Association et al.               )
                             Plaintiff                            )
                                v.                                )      Case No.
                          Trump et al.                            )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          American Foreign Service Association, American Federation of Government Employees                                   .


Date:          02/06/2025                                                                 /s/ Robin F. Thurston
                                                                                            Attorney’s signature


                                                                                       Robin F. Thurston (1531399)
                                                                                        Printed name and bar number
                                                                                    Democracy Forward Foundation
                                                                                          P.O. Box 34553
                                                                                       Washington, D.C. 20043

                                                                                                  Address


                                                                                    rthurston@democracyforward.org
                                                                                              E-mail address

                                                                                             (202) 448-9090
                                                                                             Telephone number

                                                                                             (202) 796-4426
                                                                                               FAX number


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